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            EXHIBIT 6
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 BRITAX CHILD SAFETY, INC.,


           Plaintiff,                                   Civil Action No. 5:17-cv-02724-JFL
     v.
                                                          JURY TRIAL DEMANDED
 NUNA INTERNATIONAL B.V. AND NUNA
 BABY ESSENTIALS, INC.,
           Defendants.



                        DEFENDANT’S OBJECTIONS AND RESPONSES TO
                            BRITAX’S FIRST INTERROGATORIES

          Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant Nuna

International B.V. (“Nuna BV”) objects and responds to the First Interrogatories for Production

(Nos. 1-15) of Plaintiff Britax Child Safety, Inc. (“Britax”).

                         GENERAL OBJECTIONS AND QUALIFICATIONS

          Nuna BV objects to Britax’s instructions, definitions, and Interrogatories on the

following grounds:

          1.      Nuna BV objects to Britax’s First Interrogatories (“Interrogatories”) to the extent

they seek to impose on Nuna BV any obligations or responsibilities other than those required by

the Federal Rules of Civil Procedure, the Local Rules of the United States District Court for the

Eastern District of Pennsylvania (“Local Rules”) or any standing orders of the Court.

          2.      Nuna BV objects to Britax’s Interrogatories to the extent they are overly broad,

unduly burdensome, or seek documents or information neither relevant to any claim or defense

nor reasonably calculated to lead to the discovery of admissible evidence and/or seeks

information outside the scope of permissible discovery pursuant to the Local Rules, or the
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that it has identified the individuals most knowledgeable about the sales of the Nuna RAVA as

part of its Initial Disclosures and incorporates its Initial Disclosures by reference.

       Nuna BV reserves the right to supplement and/or amend these responses pursuant to

Federal Rule of Civil Procedure 26(e) and the Local Rules of the Eastern District of

Pennsylvania.

INTERROGATORY NO. 14

Describe in detail all activities and circumstances known to you relating to the availability of any
non-infringing alternative to any claim of any of the Asserted Patents. In so doing, please
identify each element of each claim of the Asserted Patents that you contend is missing from
each such non-infringing alternative and the date you became aware of the noninfringing
alternative.

RESPONSE TO INTERROGATORY NO. 14

       Nuna BV objects to this Interrogatory as comprising multiple discrete interrogatories

under the guise of a single interrogatory. Nuna BV objects to this Interrogatory to the extent it

seeks the production of documents or information protected by the attorney-client privilege

and/or work product immunity. Nuna BV objects to this Interrogatory as overly broad, unduly

burdensome, not relevant to any claim or defense and not reasonably calculated to lead to the

discovery of admissible evidence to the extent it seeks non-infringing alternatives to “any claims

of any of the Asserted Patents.” Nuna BV objects to this Interrogatory to the extent it calls for an

admission or legal conclusion, particularly with respect to the terms “non-infringing alternative”

and “noninfringing alternative,” which are more appropriately obtained through other means.

Nuna BV also objects to this Interrogatory as depending on the construction of claim terms that

have not yet been construed by the Court and as premature to the extent it seeks Nuna BV’s

noninfringement contentions and/or claim constructions and/or expert disclosures before the

deadlines set forth in the Federal Rules, Local Rules, protective order, case management plan,


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and/or discovery order(s) as applicable in this case. Nuna BV further objects to this Interrogatory

to the extent it seeks information concerning commercial, financial, regulatory, marketing or

legal documents concerning child car seats sold outside of the United States.

       Subject to and without waiving the foregoing general and specific objections, Nuna BV

will provide its non-infringement contentions and expert disclosures according to a schedule

issued by the Court. Nuna BV is open to meeting and conferring with Britax on a schedule to

propose to the Court that includes appropriate dates for the exchange of contentions and expert

disclosures.

INTERROGATORY NO. 15

Identify each person, other than counsel, who was consulted or who provided information in
connection with the response to each Interrogatory.

RESPONSE TO INTERROGATORY NO. 15

       Nuna BV objects to this Interrogatory as comprising multiple discrete interrogatories

under the guise of a single interrogatory. Nuna BV objects to this Interrogatory to the extent it

seeks the production of documents or information protected by the attorney-client privilege

and/or work product immunity. Nuna BV objects to this Interrogatory as overly broad, unduly

burdensome and duplicative of the above interrogatories that request identification of “each

person, other than counsel, who has knowledge of or documents relating to the response to this

Interrogatory.”

       Subject to and without waiving Nuna BE’s objection that this request calls for

information subject to the work product immunity, to which Nuna BE objects, subject to and

without waiving the foregoing general and specific objections, Nuna BV responds it has

identified the individuals most knowledgeable about these responses within its Initial Disclosures

and incorporates those Initial Disclosures by reference.

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       Nuna BV reserves the right to supplement and/or amend these responses pursuant to

Federal Rule of Civil Procedure 26(e) and the Local Rules of the Eastern District of

Pennsylvania.



                                             Respectfully submitted,

                                             NUNA INTERNATIONAL B.V. and NUNA
                                             BABY ESSENTIALS, INC.
Dated: May 24, 2019                          By: /s/ Gary C. Ma

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                                             and Nuna BabyEssentials, Inc.




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